          Case: 23-30666
Case 2:23-cv-01167-JDC-KK Document: 5 Filed
                          Document 47 Page:09/22/23
                                            1 Date Page
                                                    Filed: 109/22/2023
                                                             of 2 PageID #: 1335




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF WESTERN LOUISIANA
                             LAKE CHARLES DIVISION


  STATE OF LOUISIANA, et al.,
               Plaintiffs,                Hon. Judge James D. Cain, Jr.
                                          Hon. Magistrate Judge Kathleen Kay
               v.
                                          Consolidated cases:
                                          Case No. 2:23-cv-1157 (Lead)
  DEB HAALAND, et al.,                    Case No. 2:23-cv-1167 (Member)
               Defendants,
                                          FEDERAL DEFENDANTS’
                                          NOTICE OF APPEAL
               and


  SIERRA CLUB, et al.,
               Intervenor-Defendants.
  _____________________________________
  SHELL OFFSHORE INC.,
               Plaintiff,
               v.
  U.S. DEPARTMENT OF THE INTERIOR,
  et al.,
               Defendants.
          Case: 23-30666
Case 2:23-cv-01167-JDC-KK Document: 5 Filed
                          Document 47 Page:09/22/23
                                            2 Date Page
                                                    Filed: 209/22/2023
                                                             of 2 PageID #: 1336




                         FEDERAL DEFENDANTS NOTICE OF APPEAL

        Pursuant to Federal Rule of Appellate Procedure 4(a)(1)(B) and 28 U.S.C. § 1292(a)(1),

 all Federal Defendants give notice that they appeal to the United States Court of Appeals for the

 Fifth Circuit the Memorandum Order, Doc. No. 82, granting Plaintiffs Louisiana, Chevron, and

 American Petroleum Institute’s Motion for a Preliminary Injunction in the lead case, Case No.

 2:23-cv-1157, as well as the Memorandum Order, Doc. No. 45, granting Plaintiff Shell Offshore’s

 Motion for a Preliminary Injunction in the consolidated case, Case No. 2:23-cv-1167, issued by

 the Honorable Judge James D. Cain Jr. on September 21, 2023.

        Respectfully submitted this 22nd day of September 2023.

                                             TODD KIM
                                             Assistant Attorney General
                                             Environment and Natural Resources Division\

                                             /s/ Luther L. Hajek
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                                             /s/ Alexis G. Romero
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